Case 8:07-cr-00261-JSM-TBM Document 31 Filed 11/07/07 Page 1 of 7 PageID 86
Case 8:07-cr-00261-JSM-TBM Document 31 Filed 11/07/07 Page 2 of 7 PageID 87
Case 8:07-cr-00261-JSM-TBM Document 31 Filed 11/07/07 Page 3 of 7 PageID 88
Case 8:07-cr-00261-JSM-TBM Document 31 Filed 11/07/07 Page 4 of 7 PageID 89
Case 8:07-cr-00261-JSM-TBM Document 31 Filed 11/07/07 Page 5 of 7 PageID 90
Case 8:07-cr-00261-JSM-TBM Document 31 Filed 11/07/07 Page 6 of 7 PageID 91
Case 8:07-cr-00261-JSM-TBM Document 31 Filed 11/07/07 Page 7 of 7 PageID 92
